Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Pagelof25 Page ID #:247

GODFREAD LAW FIRM, PC.

100 South Fifth Street, Suite 1900, Minneapolis, MN 55402

November 29, 2012

Via ECF

The Honorable Richard H. Kyle
772 Federal Building

316 N. Robert Street

St. Paul, MN 55101

The Honorable Joan N. Erickson
12W U.S. Courthouse

300 South Fourth Street
Minneapolis, MN 55415

Re: Alan Cooper - AF Holdings, LLC and Ingenuity13, LLC
Dear Judge Kyle and Judge Erickson:

I represent Alan Cooper who is concerned that his name or identity is being used
without his consent as the CEO of AF Holdings, LLC, a plaintiff in several cases pending in
the District of Minnesota. His name appears in attachments to the pleadings in these cases.
Perhaps, the CEO of AF Holdings has the same name as my client, we have substantial
information that would indicate that this is not a mere coincidence. I would like to be
certain my client is not at risk of liability for the outcome of these cases and others like it
and that he is not being made a front for the litigation activities of plaintiffs. I have
attempted to contact counsel for AF Holdings and their reaction has not been reassuring.

My client had for several years acted as a caretaker for a Minnesota property owned
by an attorney by the name of John Steele. When visiting his property, Steele had on
numerous occasions bragged to my client about a plan involving massive copyright litigation
in multiple jurisdictions. He also specifically instructed my client to contact him if anyone
asked about various corporations, that Cooper was to call him. When Cooper confronted
Steele about that, Steele told him not to worry about it. Needless to say, my chent was
suspicious, but did not know what to make of this situation. Upon learning about the many
lawsuits filed by AF Holdings and learning that AF Holdings has a CEO with an identical
name he began to investigate further, eventually prompting him to retain counsel.

Steele has filed numerous lawsuits across the country similar to the ones before this
court involving copyright infringement over Bittorrent and may be heavily involved in the
cases filed here by AF Holdings. Steele has appeared on behalf of AF Holdings in at least
one case (see Ex. A). Steele also shares an office address (161 N. Clark Street, Chicago, IL
60601) with the office listed on the website of plaintiff’s counsel (www.wefightpiracy.com)
(see Ex. B and C). Steele’s former law firm, Steele Hansmeier, appeats to be the predecessor
firm to Prenda Law and used the same domain name (see Ex. D - a screenshot of a cached
copy of Steele’s law firm Steele Hansmeier at www.wefightpiracy.com in February 2011)
Steele Hansmeier has also represented Ingenuity 13, which also appears to have a similar
case pending here (0:12-cv-02686-RHK-JJG) which apparently also has a manager named
Alan Cooper. (See Ex. E, page 8). From these exhibits, it is also clear that attorney Dugas
shares a phone number with attorney Gibbs of Steele Hansmeier (415-325-5900).

paul@godfreadlaw.com phone 612-284-7325
www.godfreadlaw.com fax 612-465-3609
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 2of25 Page ID #:248

Hon. Richard H. Kyle and Hon. Joan N. Ericksen
November 29, 2012
Page Two

When investigating this matter and calling the number listed on the
wefightpiracy.com website, I confirmed that Steele is currently “of counsel” with Prenda
Law. I called and emailed local counsel, Michael Dugas to give notice of representation and
to find out if there was in fact a different Alan Cooper with AF Holdings. Within an hour
after giving notice to Prenda Law and local counsel of my representation, Steele himself
called my client several times in a row and asked if he had been talking to attorneys in
Minnesota. Because I had not yet heard from attorneys Dugas or Steele, I looked for an
alternative phone number for attorney Dugas and found a different number than the one
that appears on the pleading (312-880-9160, See Ex. F). This number appears as attorney
Steele’s number in Exhibit A as well. Calling that number, I heard a voicemail message which
said “Prenda Law.” I again left a message, but have received no response. Because I have
received no response from Dugas or Steele, and because Steele has contacted my client, my
suspicions are now increased.

Today, I received an email from another attorney from Prenda Law, Paul Duffy,
suggesting that their client, AF Holdings, probably would not volunteer information. I
reasserted my request to confirm that there was another Alan Cooper at AF Holdings.
Shortly before sending this letter, Duffy emailed me again and said that I should not contact
his office again.

My client would like certainty that his identity is not being used without his
knowledge and against his will as the would be CEO of AF Holdings, LLC or as a manager
of Ingenuity13, LLC. Because both are Nevis based companies, discovering the true officers
or directors is at best difficult. I have attempted to contact plaintiffs’ attorneys, but have not
received a response that would allow me to advise my client that he should not be
concerned.

I respectfully request leave to file a motion to intervene and to seek discovery
regarding the true identity of AF Holdings, LLC’s CEO and Ingenuity 13, LLC’s manager,

Alan Cooper.
Paul Godfread
Exhibits
ce: John Steele, Esq. (via email)
Paul Duffy, Esq. (via email)
Michael Dugas (via ECF)
paul@godfreadlaw.com phone 612-284-7325

www .godfreadiaw.com fax 612-465-3609
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 3of25 Page ID #:249
Case 1:12-cv-00048-BAH Document 32 Filed 04/20/12 Page 1 of 5

UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF COLUMBIA
AF HOLDINGS LLC, )
Plaintiff,
Vv. Case : 1:12-cv-00048
DOES 1 — 1058, Judge : Hon. Beryl A. Howell
Defendants.
)

 

MOTION FOR PRO HAC VICE ADMISSION OF JOHN L. STEELE
I, Paul A. Duffy, hereby move pursuant to Local Civil Rule 83.2(d) for the pro hac vice
admission of John L. Steele to the bar of this Court to act as co-counsel in this action. Mr. Steele
is of counsel with the firm of Prenda Law, Inc., and is a member in good standing of the bar of
the State of Illinois and the U.S. District Court for the Northern District of Illinois. On the basis
of the foregoing, it is respectfully requested that this Court admit Mr. Steele pro hac vice for the
purpose of appearing and participating as co-counsel on behalf of Plaintiff, AF Holdings, Inc., in

this action.
Dated: April 20, 2012 Respectfully submitted,

By: __/s/ Paul A. Duffy

Paul A. Duffy (D.C. Bar # IL0014 )
Prenda Law Inc.

161 N. Clark Street, Suite3200
Chicago, IL 60601

Telephone: (312) 880-9160
Facsimile: (312) 893-5677
Attorneys for Plaintiff,

AF Holdings LLC

Exhibit _A_
Pg_\ of _S
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 4of25 Page ID #:250
Case 1:12-cv-00048-BAH Document 32 Filed 04/20/12 Page 2 of 5

CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that on April 20, 2012, I caused a true and
correct copy of the foregoing Motion For Pro Hac Vice Admission to be electronically filed with
the Clerk of the District Court using the CM/ECF system, which sent notification of such filing

to all counsel of record.

Dated: April 20, 2012

Is/_ Paul A. Duffy
Paul A. Duffy
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page5of25 Page ID#:251
Case 1:12-cv-00048-BAH Document 32 Filed 04/20/12 Page 3 of 5

UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF COLUMBIA
AF HOLDINGS LLC, )
Plaintiff,
Vv. Case : 1:12-cv-00048
DOES 1 — 1058, Judge : Hon. Beryl A. Howell
Defendants. 3

 

DECLARATION OF JOHN L. STEELE
1, John Steele, declare pursuant to 28 U.S.C. § 1746 and Local Civil Rule 83.2(d):
L. [am of counsel with the law firm of Prenda Law, Inc., counsel for Plaintiff,
AF Holdings, LLC in the above-captioned action. I submit this declaration in support of
Paul A. Duffy’s Motion pursuant to Local Civil Rule 83.2(d) for the pro hac vice admission
of John Steele to the bar of this Court.
2. My full name is John L. Steele.
3. My office address is 161 N. Clark Street, Suite 3200, Chicago, Illinois
60601. My office telephone number is (312) 880-9160.
4, I have also been admitted to practice before, and am a member in good standing

of, the bars of the United States Court District Court for the Northern District of Illinois, and the

State of Illinois.
5. I have not been disciplined by any bar.
6. I have been admitted pro hac vice to this Court in one case (1:12-mc-00150-

ESH-AK) in the previous two years.

Exhibit A
Pg 3 of 5
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 6of25 Page ID #:252
Case 1:12-cv-00048-BAH Document 32 Filed 04/20/12 Page 4o0f5

7. 1 do not engage in the practice of law from an office located in the District of
Columbia. I am not a member of the District of Columbia bar, nor do I have an application
for membership pending.

I hereby declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Dated: April 20, 2012

!s/_ John Steele

John Steele

Prenda Law Inc.

161 N. Clark St., Suite 3200
Chicago, IL 60601
Telephone: (312) 880-9160
Facsimile: (312) 893-5677

Exhibit AL

Pg_-|_ of 4
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 7of25 Page ID #:253
Case 1:12-cv-00048-BAH Document 32 Filed 04/20/12 Page 5of5

UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF COLUMBIA
AF HOLDINGS LLC, )
Plaintiff,
Vv. Case : 1:12-cv-00048
DOES 1 - 1058, Judge : Hon. Beryl A. Howell
Defendants.
)

 

[PROPOSED] ORDER

Upon consideration of the Motion for Pro Hac Vice Admission of John L. Steele, it is

hereby

ORDERED that John L. Steele be specially admitted to appear and participate in the

above-captioned matter as counsel for Plaintiff AF Holdings, LLC.

Dated: April 20, 2012

 

Hon. Beryl A. Howell
United States District Court Judge

Exhibit A
Pg 5 of 5
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 8o0f25 Page ID #:254

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1/2
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page9of25 Page ID#:255

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Exhibit 0
Pg 2 of 2

2/2
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 10o0f25 Page ID #:256

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Pg_|_ of _4
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 11of25 Page ID #:257
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Pg _o of 2
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 12o0f25 Page ID #:258

11/27/12

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Prenda Law Inc, laviyer responsible for the contents of this website is Paul Duly.

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Pg_3 of

3/3
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 13 o0f 25 Page ID #:259

11/28/12 Steele | Hansmeier PLLC

 

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Exhibit 1/4

Pg_| of _4

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Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page14of25 Page ID #:260

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individuals and businesses who infringe on the copyrights associated with our clients’ creative works. Our practice includes addressing the unique legal
issues posed by Internet-based piracy, where the vast majority of infringement occurs under the cover of Internet Protocol (“IP”) addresses.

We view our mission as a small part of the overall effort to preserve the creative arts for future generations. In our view, the ease with which digital
content is pirated represents an existential threat to the future of professional content producers. Our clients understand all too well the problems posed
by the unauthorized redistribution of their copyrighted works, particularly given the capital investment associated with producing and marketing
professional works.

Services

The legal services offered by Steele | Hansmeier PLLC reflect the lifecycle of a creative work. Such services include:

Due diligence efforts to determine whether a proposed creative work lacks originality or infringes on another creative work;

Developing a plan for protecting and enforcing U.S. and international copyrights;

Securing U.S. copyrights and coordinating with third parties to secure international copyrights in both Berne and non-Berne Convention
countries; and

e Enforcing U.S. copyrights and coordinating with third parties to enforce international copyrights.

Many of our services involve coordinating with third party attorneys (e.g. international copyright work) and third party technology providers (e.g.
copyright enforcement). Our consistent focus is to provide our clients with strong returns on the capital they invest in our time and that of our third
party service providers.

top
Due Diligence

Before investing substantial capital into the production and/or distribution of a creative work, a creative artist may wish to conduct a basic level of due

web.archive.org/web/20110207181155/http://wefightpiracy.com/ Exhibit Pp 2/4

Pg_2 of 4 _
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 15o0f25 Page ID#:261
11/28/12 Steele | Hansmeier PLLC

diligence into determining the degree to which their work resembles other copyrighted creative works. The methods for conducting this sort of due
diligence vary based on the medium, through most forms of creative work lend themselves to digital due diligence. For example, an audio file can be
digitally fingerprinted based on a variety of characteristics (e.g. rhythm, length, melody, etc.). This fingerprint can be compared to those of other audio
files. Similar results would then be reviewed to determine whether a copyright issue exists. If such an issue exists, then the creative artist can attempt to
obtain a license from the copyright holder of the original work. A creative artist's bargaining power is much stronger before they invest millions of dollar
into marketing and distributing a creative work.

In 2008, Joe Satriani filed a copyright infringement lawsuit against the Grammy Award-winning band, Coldplay. Satriani’s suit alleged that
Coldplay's hit song, Vida la Vida, contained substantial portions of Satriani’s, If ! Could Fly. The parties eventually reached an out-of-court
monetary settlement for an undisclosed financial sum.

In addition to avoiding infringement lawsuits, it is important to know whether a given creative work will even be afforded the protection of the
copyright laws of the jurisdictions in which the artist intends to market the creative work. Steele | Hansmeier PLLC offers services to assist creative
artists in conducting the forms of due diligence described in this section.

Protection Planning

Another category of services offered by Steele | Hansmeier PLLC is assisting creative artists plan their copyright strategy in advance of the creation
and/or publication of their creative works. Despite the existence of international treaties, such as the Berne Convention, the world as a whole essentially
remains a patchwork of copyright laws with varying degrees of enforcement. By way of example, a creative artist’s approach to copyright protection in the
United States should look much different chan the artists approach to copyright protection in China. We offer to assist creative artists in developing
copyright protection strategies worldwide.

Securing Copyrights

Once a creative work has been produced and/or published, it is generally important to register a copyright in every country where the copyright holder
may wish to assert their rights. We offer to assist creative artists by coordinating the registration of their copyrights around the world, as required.

In the United States it is particularly important to register one’s copyrights. As a general rule, copyright registration is a prerequisite to filing
a copyright infringement lawsuit in U.S. federal court and a timely filing will preserve remedies that may be lost indefinitely if one does not
timely register his or her copyright.

Enforcing Copyrights

Copyright enforcement is a rapidly evolving field. Recent advances in communications technology have dramatically lowered the cost and increased the
profitability of mass-piracy. As piracy evolves, so too must copyright enforcement strategies. Steele | Hansmeier PLLC offers services on the cutting edge
of copyright enforcement, including: 1) DMCA enforcement services; 2) pirate pursuit services; and 3) advising on comprehensive paradigm shifts in
copyright enforcement.

Disclaimer

Our website is intended to provide only an overview of Steele | Hansmeier PLLC. Nothing on this website is meant to be or should be relied on as legal
advice. Commentary on this website is not necessarily up to date. This website is not intended to be an offer to represent you, nor is it intended to
establish an attorney client privilege.

Links

Resources

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web.archive.org/web/20110207181155/http://wefightpiracy.com/ Exhibit 3/4

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11/28/12 Steele | Hansmeier PLLC
Latest News

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According to an article published on Digital Trends, Google is taking steps to implement several anti-piracy measures, which will ideally make it more
difficult for searchers to located pirated material. First, Google is increasing its responsiveness to takedown requests of so-called “reliable copyright
holders.” Second, its autocomplete function will filter out greater amounts of infringing results. [...]

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According to a recently published article in the Salt Lake Tribune, Ed Catmull, president of Pixar Studios, linked international copyright protection to
Pixar’s ability to continue investing in the cutting-edge technology that’s brought us such movies as Wall-E, Monster's, Inc., and Up - all of which are
presumably registered trademarks of Pixar Animation Studios. At [...]

 

Ridley Scott’s Robin Hood, starring Russell Crowe and Cate Blanchett, is not only popular in the theaters, but also among the BitTorrent crowd.
According to BitTorrent news site, TorrentFreak, Robin Hood, despite its relatively lower IMDB rating, beat out both Iron Man 2 and the Expendables
for the the top spot on the piracy chart [...]

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web.archive.org/web/20110207181155/http://wefightpiracy.com/ Exhibit 4/4

Pg_ + of 4
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 17of25 Page ID #:263

Case 2:11-mc-00084-JAM-DAD Document1 Filed 10/28/11 Page 1 of 8

1 || Brett L. Gibbs, Esq. (SBN 251000)
Steele Hansmeier PLLC.

 

 

2 || 38 Miller Avenue, #263
Mill Valley, CA 94941
3 || 415-325-5900
bigibbs@wefightpiracy.com
4
Attorney for Petitioner
5
6
5 IN THE UNITED STATES DISTRICT COURT FOR THE
8 EASTERN DISTRICT OF CALIFORNIA
9
10 || {n the Matter Of a Petition By )
)
11 |} INGENUITY 13 LLC, ) No.
)
12 ) Judge:
)
13 ) VERIFIED PETITION TO
) PERPETUATE TESTIMONY
14 )
)
15
16 1. Petitioner Ingenuity13 LLC by and through its undersigned attorney, hereby

17 || petitions this Court for an order pursuant to Federal Rule of Civil Procedure 27 authorizing the
18 || issuance of subpoenas duces tecum to the Internet Service Providers (“ISPs”) listed on Exhibit A to
19 |] this petition.

20 2. Petitioner is limited liability company organized and existing under the laws
21 || of the Federation of Saint Kitts and Nevis. Petitioner produces adult entertainment content and this
22 ||content is being unlawfully reproduced and distributed over the Internet via the BitTorrent file
3 || transfer protocol. An individual or individuals wrongfully reproduced and distributed Petitioner’s
24 ||copyrighted works via the BitTorrent protocol in violation of Petitioner’s exclusive rights under
25 || United States Copyright Act, 17 U.S.C. §§ 101, ef seq. Petitioner anticipates bringing a civil action
96 || against the person or persons engaging in such unlawful activity. This action would be cognizable in
27 |/a United States court as United States courts have exclusive jurisdiction over copyright actions.

2g || Without knowing the identity or identities of the anonymous infringers, Petitioner has no means to

 

 

 

Exhibit E
Pg_| of §
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 18o0f25 Page ID #:264

Case 2:11-mc-00084-JAM-DAD Document1 Filed 10/28/11 Page 2 of 8

1 || name and serve the individual or individuals in an action with summons and complaint. The purpose
of this petition is to ascertain these identity or identities.

3. Petitioner seeks the name, address, telephone number, e-mail address and
Media Control Access number of each account holder associated with the Internet Protocol (“IP”)
addresses listed on Exhibit B to this petition. Each of the IP addresses was identified by Petitioner’s
agents as being associated with infringing activity on the corresponding dates and times listed on
Exhibit B. The reasons to perpetuate the testimony are multiple. First, without this information

Petitioner has no means to name and serve a complaint on the infringing parties. Second, on

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information and belief, this information is destroyed in the regular course of business and will be
10 |} unavailable to Petitioner after it is destroyed. An example of an [SP’s data retention policy is shown
11 || as Exhibit C. Finally, under the Cable Communications Policy Act, 47 U.S.C. § 551(c)(2)(B), a court
12 || order is necessary to discover an account holder’s identity.

13 4. The names and addresses of the person or persons whom Petitioner expects to
14 || be adverse parties are unknown to Petitioner. The individual or individuals responsible for infringing
15 || Petitioner’s works are known to Petitioner only by an IP address—a number that is assigned to
16 || devices, such as computers, that are connected to the Internet. Petitioner used geolocation to trace
17 ||the IP addresses of the expected adverse party or parties to a point of origin within the State of
18 || California.

19 5. The name and address of each responding party is set forth on Exhibit A to
20 || this petition. Petitioner is seeking the name, address, telephone number, e-mail address and Media
21 || Control Access number of each account holder associated with the Internet Protocol (“IP”) addresses
22 || listed on Exhibit B to this petition.

23 FACTUAL ALLEGATIONS

24 6. Petitioner is the owner of the copyright for the motion picture set forth in
25 || Exhibit D to this petition.

26 7. As set forth below, Petitioner has actionable claims for direct and contributory

27 || copyright infringement and a claim for civil conspiracy against the individual or individuals who

28 »
VERIFIED PETION TO PERPETUATE TESTIMONY

 

 

 

 

Exhibit _C
Pg 2 of 4

 
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 19o0f 25 Page ID #:265

Case 2:11-mc-00084-JAM-DAD Document1 Filed 10/28/11 Page 3 of 8

I || engaged in infringing activities via the IP addresses set forth on Exhibit B hereto based on the
parties’ use of the BitTorrent protocol to illegally reproduce and distribute Petitioner’s work(s).

A. The Unknown Infringers used BitTorrent to Infringe Petitioner’s Copyrights

& WwW Nw

8. BitTorrent is a modern file sharing method (“protocol”) used for distributing
data via the Internet. BitTorrent protocol is a decentralized method of distributing data. Instead of
relying on a central server to distribute data directly to individual users, the BitTorrent protocol
allows individual users to distribute data among themselves by exchanging pieces of the file with

each other to eventually obtain a whole copy of the file. When using the BitTorrent protocol, every

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user simultaneously receives information from and transfers information to one another.

10 9. The BitTorrent protocol is an extremely popular method for transferring data.
11 || A group of individuals transferring data among one another (the “‘swarm”) will commonly include
12 || peers from many, if not every, state in the United States and several countries around the world. And
13 || every peer in the swarm participates in distributing the file to dozens, hundreds, or even thousands of
14 || other peers.

15 10. The BitTorrent protocol is also an extremely popular method for unlawfully
16 || copying, reproducing, and distributing files in violation of the copyright laws of the United States. A
17 || broad range of copyrighted albums, audiovisual files, photographs, software, and other forms of
18 || media are available for illegal reproduction and distribution via the BitTorrent protocol.

19 11. Efforts at combating BitTorrent-based copyright infringement have been
20 ||stymied by BitTorrent’s decentralized nature. Because there are no central servers to enjoin from
21 || unlawfully distributing copyrighted content, there is no primary target on which to focus anti-piracy
22 || efforts. Indeed, the same decentralization that makes the BitTorrent protocol an extremely robust and
23 || efficient means of transferring enormous quantities of data also acts to insulate it from anti-piracy
24 || measures.

25 12.‘ The infringing parties in this action were all observed using the BitTorrent
26 || protocol to unlawfully reproduce and distribute Plaintiff's copyrighted work by exchanging pieces

97 || with one another either directly or via a chain of data distribution.

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VERIFIED PETION TO PERPETUATE TESTIMONY

 

 

 

 

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Exhibit bE

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Pg 3 of 3
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 200f 25 Page ID #:266

 

Case 2:11-mc-00084-JAM-DAD Document Filed 10/28/11 Page 4 of 8

1] B. Each infringer installed a BitTorrent Client on his or her computer

2 13. The individual or individuals associated with the infringing activity installed a

3 || BitTorrent Client onto his or her computer(s). Normal commercial computers do not come pre-

4 || loaded with BitTorrent software. Each infringer must have separately installed on their respective

> ||computers special software that allows peer-to-peer sharing of files by way of the Internet. The

6 || infringers use software known as BitTorrent clients. Among the most popular BitTorrent clients are

7 || Vuze (formerly Azureus), :Torrent, Transmission and BitTorrent 7, although many others are used

8 || as well.

9 14. Once installed on a computer, the BitTorrent “Client” serves as the user’s
10 || interface during the process of uploading and downloading data using the BitTorrent protocol.
1] C. The Initial Seed, Torrent and Tracker
12 15. A BitTorrent user who wants to upload a new file, known as an “Initial
13 || Seeder,” starts by creating a “torrent” descriptor file using the client he or she installed onto his or
14 || her computer. The Client takes the target computer file, the “initial seed,” in this case, one of the
15 || copyrighted Works, and divides it into identically sized groups of bits known as “pieces.” The Client
16 ||then gives each one of the computer file’s pieces, in this case, pieces of one of the copyrighted
17 || works, a random and unique alphanumeric identifier known as a “hash” and records these hash
18 || identifiers in the torrent file.
19 16. When another peer later receives a particular piece, the hash identifier for that
20 || piece is compared to the hash identifier recorded in the torrent file for that piece to test whether the
21 || piece is free of errors. In this way, the hash identifier works like an electronic fingerprint to identify
22 || the source and origin of the piece and ensure that the piece is authentic and uncorrupted.
23 17. Torrents files also have an “announce” section, which specifies the Uniform
24 || Resource Locator (“URL”) of a “tracker” and an “info” section, containing (suggested) names for
25 || the files, their lengths, the piece length used, and the hash identifier for each piece, all of which are
26 || used by the Client on peer computers to verify the integrity of the data they receive. The “tracker” is
27 ||a computer or set of computers that a torrent file specifies and to which the torrent file provides
28 4

VERIFIED PETION TO PERPETUATE TESTIMONY

 

 

 

Exhibit E
Pg _4 of B_
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 210f25 Page ID #:267

 

Case 2:11-mc-00084-JAM-DAD Document1 Filed 10/28/11 Page 5 of 8
1 || peers with the URL address(es). The tracker computer or computers direct a peer user’s computer to
2 || another peer user’s computer that have particular pieces of the file, in this case, one of the copyright
3 |] Works on them, and facilitates the exchange of data among the computers. Depending on the
4 || BitTorrent Client, a tracker can either be a dedicated computer (centralized tracking) or each peer
> || can act as a tracker (decentralized tracking).
6 D. Torrent Sites
7 18. “Torrent Sites” are websites that index torrent files that are currently being
8 || made available for copying and distribution by the people using the BitTorrent protocol. There are
9 || numerous torrent websites, such as www.torrentz.eu or thepiratebay.org.
10 19. | Upon information and belief, each infringer went to a torrent site to upload
11 || and download one of the Petitioner’s copyrighted Works.
12 E. Uploading and Downloading a Work Through a BitTorrent Swarm
13 20. Once the initial seeder has created a torrent and uploaded it onto one or more
14 || torrent sites, then other peers begin to download and upload the computer file to which the torrent is
15 || linked (here, one of the copyright Works) using the BitTorrent Client that the peers installed on their
16 || computers.
17 21. The BitTorrent protocol causes the initial seed’s computer to send different
18 ||pieces of the computer file, here, one of the copyrighted Works, to the peers who are seeking to
19 || download the computer file. Once a peer receives a piece of the computer file, it starts transmitting
20 || that piece to other peers. In this way, all of the peers and seeders are working together in what is
21 || called a “swarm.”
22 22. Here, each infringing peer member participated in a swarm through digital
23 || handshakes, the passing along of computer instructions, uploading and downloading, and by other
24 || types of transmissions.
25 23. In this way, and by way of example only, one initial seeder can create a
26 || torrent that breaks a movie up into hundreds of piece saved in the form of a computer file, like the
27 || Works here, upload the torrent file onto a torrent site, and deliver a different piece of the computer
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VERIFIED PETION TO PERPETUATE TESTIMONY j

 

 

 

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Exhibit
Pg 5 of 9 |
Case 2:12-cv-08333-ODW-JC Document 23-3 Filed 12/18/12 Page 22 of 25 Page ID #:268

 

Case 2:11-mc-00084-JAM-DAD Document1 Filed 10/28/11 Page 6 of 8

1 || file to each of the peers. The receiving peers then automatically begin delivering the piece they just

2 || received to the other peers in the same swarm.

3 24. Once a peer, here an infringer, has downloaded the full file, the BitTorrent

4 || Client reassembles the piece and the peer is able to view the video. Also, once a peer has

3 || downloaded a full file, that peer becomes known as “an additional seed” because it continues to

6 || distribute the torrent file which, in this case, was one of the copyrighted Works.

7 F. Petitioner’s Computer Investigators Identified Each Infringer’s IP Address as an

8 Infringer of Petitioner’s Copyright Works

9 25, Petitioner retained 6881 Forensics, LLC (“6881”) to identify the IP addresses
10 used by the individual or individuals that were misusing the BitTorrent protocol to unlawfully
il distribute Petitioner’s copyrighted Work.
12 26. 6881 used forensic software, “BitTorrent Auditor” to audit a swarm for the
13. || Presence of infringing transactions.
14 27. 6881 extracted the resulting data gathered from the investigation, reviewed the
15 evidence logs, and isolated the transactions and the IP addresses associated with the copyrighted
16 work listed on Exhibit D hereto.
7 28. | The IP addresses and hit dates contained on Exhibits B accurately reflects
18 what is contained in the evidence logs and show that:
19 (A) | Each infringer copied a piece of one of Petitioners copyrighted work;
20 and
1 (B) Each infringer was part of a BitTorrent swarm.
rm) 29. 6881’s technician analyzed each BitTorrent “piece” distributed by the IP
73 addresses listed on Exhibit B and verified that each piece consisted of part of the copyrighted work.
24 30. In order for petitioner to be able to take appropriate action to protect its
35 copyrighted work under 17 U.S.C. §§ 101, ef seg, petitioner must be authorized issuance of
26 subpoenas duces tecum to the ISPs listed on Exhibit A to this petition.
47 31. No prior application has been made for the relief sought herein.
28 é

VERIFIED PETION TO PERPETUATE TESTIMONY

 

 

 

Exhibit £

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Case 2:11-mc-00084-JAM-DAD Document1 Filed 10/28/11 Page 7 of 8

WHEREFORE, petitioner requests that an order be made and entered directing that petitioner

may compel the production of documents to the extent of determining the name, current (and

permanent) addresses, telephone numbers, e-mail addresses and Media Access Control addresses of

the person or persons whose IP addresses are listed in Exhibit B from the ISPs listed on Exhibit A

for the purposes of determining the true identity of unknown infringers. To further support its

Petition, Petitioner attaches as Exhibit F its Memorandum of Law in Support of Petitioner’s Verified

Petition to Perpetuate Testimony.

Respectfully Submitted,

DATED: October 28, 2011

By:

Ingenuity13 LLC,

/s/ Brett L. Gibbs, Esq.

Brett L. Gibbs, Esq. (SBN 251000)
Steele Hansmeier PLLC.

38 Miller Avenue, #263

Mill Valley, CA 94941
415-325-5900
blgibbs@wefightpiracy.com
Attorney for Plaintiff

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VERIFIED PETION TO PERPETUATE TESTIMONY

Exhibit

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Case 2:11-mc-00084-JAM-DAD Document 1 Filed 10/28/11 Page 8 of 8
I NOTARIZED VERIFICATION
2
3 I declare under penalty of perjury under the laws of the United States of America that the
4 foregoing information contained in this Verified Petition is, to the best of my knowledge, true and
5
correct.
6
7
g DATED: October 28, 2011 /Sf Alan Cooper
Alan Cooper, Manager of Ingenuity 13 LLC
9
10 I, Brett L. Gibbs, Esq., hereby confirm per Eastern District of California Local Rule 131(f)
11 || that counsel for Plaintiff has a signed original notarized version of the above Verified Petition.
12
13
DATED: October 28, 2011
14
By: /s/ Brett L. Gibbs, Esq.
15
Brett L. Gibbs, Esq. (SBN 251000)
16 Steele Hansmeier PLLC.
38 Miller Avenue, #263
17 Mill Valley, CA 94941
415-325-5900
18 blgibbs@wefightpiracy.com
19 Attorney for Plaintiff
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VERIFIED PETION TO PERPETUATE TESTIMONY

 

 

 

Exhibit Ee

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Guava LLC vs CenturyLink Inc § Case Type: Civil Other/Misc.
§ Date Filed: 08/10/2012
§ Location: ~- Hennepin Civil
§ Judicial Officer: Steenson DuFresne, Mary E.
§
§
Party INFORMATION
Lead Attomeys
Defendant CenturyLink Inc DAVID EARLE CAMAROTTO
Retained
612-333-3000}W)
Plaintiff Guava LLC MICHAEL KEVIN DUGAS
Retained
312-880-9160(W)
Events & ORpERS OF THE CouRT \
OTHER EVENTS AND HEARINGS SL
08/10/2012] Motion
08/20/2012] Notice of Case Assignment (Judicial Officer: Steenson DuFresne, Mary E. }
09/24/2012| Proposed Document
09/24/2012} Certificate of Representation
09/24/2012| Memorandum
09/24/2012] Affidavit-Other
09/24/2012] Affidavit of Service
09/27/2012] Notice of Appearance
09/27/2012] Notice of Appearance
09/27/2012] Motion
09/27/2012] Responsive Motion
09/28/2012| Order-Other
09/28/2012] Notice of Appearance
10/01/2012] Motion Hearing (9:15 AM) (Judicial Officer Steenson DuFresne, Mary E.)
Resuit: Held
10/01/2012] Taken Under Advisement (Judicial Officer: Steenson DuFresne, Mary E. )
10/12/2012] Correspondence
10/15/2012] Correspondence
10/29/2012| Telephone Motion Hearing (9:30 AM) (Judicial Officer Steenson DuFresne, Mary E.)
Result: Held
10/29/2012| Order Granting Motion (Judicial Officer: Steenson DuFresne, Mary E. )

 

FINnanciaAL INFORMATION

 

09/25/2012
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08/20/2012
08/21/2012
09/27/2012
09/27/2012
09/28/2012
09/28/2012

Defendant CenturyLink Inc
Total Financial Assessment
Total Payments and Credits
Balance Due as of 11/29/2012

Transaction Assessment
E-Fite Electronic Payment Receipt # EP27C-2012-12417
Transaction Assessment
E-File Electronic Payment Receipt # EP27C-2012-12420

Plaintiff Guava LLC

Total Financial Assessment
Total Payments and Credits
Balance Due as of 11/29/2012

Transaction Assessment
Mail Payment
Transaction Assessment
E-File Electronic Payment Receipt # EP27C-2012-12743
Transaction Assessment

E-File Electronic Payment Receipt # EP27C-2012-12816

Receipt # 1227-2012-19301

 

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CenturyLink Inc

CenturyLink Inc

 
   
   

Prenda Law Inc

Guava LLC

Guava LLC

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